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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  HEALTHE, INC.,

         Plaintiff,

  v.                                                       Case No.: 6:20-cv-02233-RBD-EJK

  HIGH ENERGY OZONE LLC; S.
  EDWARD NEISTER; and PATHOGEN
  PATH CONSULTING LLC,

         Defendants.


       DEFENDANT PATHOGEN PATH CONSULTING LLC’S CERTIFICATE OF
        INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT

         Defendant Pathogen Path Consulting LLC, by and through undersigned counsel,

  hereby discloses the following pursuant to this Court’s Order on Interested Persons and

  Corporate Disclosure (ECF No. 8):

          1.       The name of each person, attorney, association of persons, firm, law firm,
  partnership, and corporation that has or may have an interest in a party to this action or in the
  outcome of this action, including subsidiaries, conglomerates, affiliates, parent corporations,
  publicly-traded companies that own 10% or more of a party’s stock, and all other identifiable
  legal entities related to a party:

          Plaintiff, Healthe, Inc.

          Defendant, High Energy Ozone LLC d/b/a Far-UV Sterilray

          Defendant, S. Edward Neister

          Defendant, Pathogen Path Consulting LLC

        2.      The name of every other entity whose publicly-traded stock, equity, or debt
  may be substantially affected by the outcome of the proceedings:

          None.



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          3.     The name of every other entity which is likely to be an active participant in
  the proceedings, including the debtor and members of the creditors’ committee (or twenty
  largest unsecured creditors) in bankruptcy cases:

           None.

        4.      The name of each victim (individual or corporate) of civil and criminal
  conduct alleged to be wrongful, including every person who may be entitled to restitution:

           Defendant, High Energy Ozone LLC d/b/a Far-UV Sterilray

           Defendant, S. Edward Neister

           Defendant, Pathogen Path Consulting LLC

           5.      Check one of the following:

  ___X____ I hereby certify that, except as disclosed above, I am unaware of any actual or

  potential conflict of interest involving the district judge and magistrate judge assigned to this

  case, and will immediately notify the Court in writing on learning of any such conflict.

  - or –


  _______ I certify that I am aware of a conflict or basis of recusal of the District Judge or

  Magistrate Judge as follows:




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  Dated: January 8, 2021              Respectfully submitted,

                                      /s/ Alex L. Braunstein
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                                     Counsel for Defendants High Energy Ozone
                                     LLC, S. Edward Neister, and Pathogen Path
                                     Consulting LLC




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 8, 2021, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which will send a notice of electronic filing to all

  attorneys of record.

                                               /s/ Alex L. Braunstein
                                                Alex L. Braunstein




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